Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 1 of 22

AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America

V. )
ETHAN NORDEAN ) Case No.

also known as "Rufio Panman" )

)

)

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) | ETHAN NORDEAN, also known as “Rufio Panman" .
who is accused of an offense or violation based on the following document filed with the court:

O Indictment [ Superseding Indictment O Information © Superseding Information a Complaint
1 Probation Violation Petition Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

See attached affidavit, which is incorporated herein by reference.

KS 2021.02.02

22:11:01 -05'00'

 

 

 

Date: 02/02/2021 >
Issuing officer's signature
City and state: | Washington, D.C. Zia M. Faruqui, United States Magistrate Judge
Printed name and title
Return
This warrant was received on (date) _ , and the person was arrested on (date)

at (city and state)

Date:
Arresting officer's signature

Printed name and title

 

 
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 2 of 22
AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

United States of America )

v. )
ETHAN NORDEAN ) Case No.

also known as "Rufio Panman" )

06/08/1990 )

)

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 6, 2021 in the county of in the
District of _ Columbia , the defendant(s) violated:

Code Section Offense Description

18 U.S.C. § 1361 and 2 Aid and Abet Injury or Depredation Against Government Property

18 U.S.C. § 1512(c)(2) Obstruct or Impede an Official Proceeding.

18 U.S.C. Section 1752(a) Knowingly Entering or Remaining in Restricted Building or Grounds.

40 U.S.C. §§ 5104(e)(2)(D)and (G) Violent Entry and Disorderly Conduct on Capitol Grounds.

This criminal complaint is based on these facts:

See the attached affidavit, which is incorporated herin by reference.

Continued on the attached sheet.

ELE

Complainant's signature

 

Nicholas Napoli, Special Agent, FBI

Printed name and title

x J- 2021.02.02
Xe
its 22:09:59 -05'00'

Judge's signature

Sworn to before me and signed in my presence.

Date: 02/02/2021

City and state: _ Washington, D.C. oe Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 3 of 22

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
I, Nicholas A. Napoli, being first duly sworn, hereby depose and state as follows:
PURPOSE OF AFFIDAVIT

1. This Affidavit is submitted in support of a Criminal Complaint charging Ethan
Nordean (““NORDEAN”), also known as “Rufio Panman,” with violations of 18 U.S.C.
§ 1512(c)(2), 18 U.S.C. §§ 1361, 2, 18 U.S.C. § 1752(a), and 40 U.S.C. §§ 5104(e)(2)(D) and (G),
in connection with his actions at and inside the U.S. Capitol on or about January 6, 2021. I
respectfully submit that this Affidavit establishes probable cause to believe that NORDEAN
(i) corruptly did obstruct, influence, or impede an official proceeding before Congress—that is,
the certification of the Electoral College; (ii) did aid and abet others, both known and unknown, to
forcibly enter the Capitol and thereby cause damage to the building in an amount more than
$1,000—that is, NORDEAN aided and abetted individuals who removed barricades and broke
windows to storm the Capitol building; (iii) did knowingly enter or remain in a restricted building
or grounds, i.e., the U.S. Capitol, without lawful authority, or did knowingly, and with intent to
impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct; and (iv) did willfully and knowingly engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of any deliberations of either House of Congress.

BACKGROUND OF AFFIANT
2. Iam a Special Agent with the Federal Bureau of Investigation (FBI) and have been

so since February 2019. As such, I am an officer of the United States who is empowered by law
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 4 of 22

to conduct investigations of and to make arrests for offenses enumerated in Titles 18 and 21 of the
United States Code. In addition to my regular duties, I am currently also tasked with investigating
criminal activity that occurred in and around the Capitol grounds on January 6, 2021.

3. Unless otherwise stated, the information in this Affidavit is either personally known
to me, has been provided to me by other individuals, or is based on a review of various documents,
records, or reports. Because this Affidavit is being submitted for the limited purpose of establishing
probable cause in support of a criminal complaint, it does not contain each and every fact known
to me or the United States concerning this investigation. I have set forth only the facts that I
believe are necessary to establish probable cause that NORDEAN violated the crimes set forth
herein. All dates listed in this Affidavit should be read as “on or about” a given date.

BACKGROUND
ETHAN NORDEAN, also known as “Rufio Panman”’

4, NORDEAN, who utilizes the alias “Rufio Panman,” is a 30 year-old resident of the

state of Washington. NORDEAN is a member of a group known as the Proud Boys, and

NORDEAN is the self-described “Sergeant of Arms” of the Seattle Chapter of the Proud Boys.

 

5. Proud Boys is a nationalist organization with multiple U.S. chapters and potential
activity in other Western countries. The group describes itself as a “pro-Western fraternal

organization for men who refuse to apologize for creating the modern world; aka Western
2
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 5 of 22

Chauvinists.” Proud Boys members routinely attend rallies, protests, and other First Amendment-

protected events, where certain of its members sometimes engage in acts of violence against

individuals whom they perceive as threats to their values. The group has an initiation process for

new members, which includes the taking of an “oath.” Proud Boys members often wear the colors

yellow and black, as well as other apparel adorned with Proud Boys-related logos and emblems.
Proud Boys’ Appearances at Previous Demonstrations in Washington, D.C.

6. On or about November 14, 2020, the “Million MAGA March” was held in
Washington, D.C. The Million MAGA March was a widely-attended demonstration in
Washington, D.C., which was organized as a peaceful exercise of demonstrators’ First Amendment
rights with respect to the 2020 Presidential election. Members of the Proud Boys attended the
demonstration wearing their yellow and black colors and other recognizable emblems and logos
associated with the group.

7. On or about December 12, 2020, a similar demonstration took place in Washington,
D.C. (the “December Demonstration”). Like the Million MAGA March, the December
Demonstration was organized as a peaceful First Amendment demonstration, and one focus of the
demonstration was to protest against the vote of the Electoral College on that upcoming Monday,
December 14, 2020. Certain persons dressed in Proud Boys colors and wearing Proud Boys
emblems and logos attended the demonstration.

NORDEAN’’s Participation in Unlawful Events at the Capitol on January 6, 2021

8. I have studied video footage and still photographs of the January 6, 2021, incursion
of the U.S. Capitol, and I have identified an individual in them as NORDEAN through comparison
of those images to photographs and videos of NORDEAN that are widely available online. In

3
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 6 of 22

addition, I have reviewed video footage taken by others during the event in which others
contemporaneously identify the same individual as NORDEAN. As described herein, the images
and video footage that I have reviewed, as well as the other facts gathered in this investigation,
establish that NORDEAN did unlawfully enter or remain in the U.S. Capitol as a direct result of
others’ destruction of federal property; did aid, abet, counsel, command, induce, or procure others
to unlawfully enter the U.S. Capitol by means of destruction of federal property; and did corruptly
obstruct the official proceedings underway at the U.S. Capitol on January 6, 2021.

9. On January 6, 2021, NORDEAN was observed marching at the front of a group of
known Proud Boys on Constitution Avenue, Northwest, in the area around First Street, Northwest.
The group was engaged in various chants and response calls, including “F*** Antifa!” and “Whose
streets? Our streets!” To NORDEAN’s right, and also marching at the front of the group, is a self-

described organizer of the Proud Boys, Joseph Biggs.!

 

' On January 19, 2021, Joseph Biggs has been charged by criminal complaint for violations of 18
U.S.C. §§ 1512(c), 1752(a), and 40 U.S.C. § 5104(e)(2)(D) and (F). United States v. Joseph
Biggs, 21-mj-126.
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 7 of 22

 

10. NORDEAN was also identified in a video taken by a man purporting to be a

member of the Proud Boys (“Person A”). Specifically, Person A gave an interview to ABC Action
News, which was published online on January 9, 2021. As part of that interview, Person A shared
footage that Person A claims was taken on January 6, 2021, while Person A and others were
participating in the demonstration. In the version of the interview produced online, Person A can
be heard saying, “Yeah, that’s Joe Biggs, that’s Rufio.” Based on my investigation, I understand
Person A to be identifying the man in the plaid shirt as Proud Boys organizer Joe Biggs, and the
man in the sunglasses and holding a megaphone as NORDEAN, who utilizes the alias “Rufio

Panman.”
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 8 of 22

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en

‘news CAPITOL RIOT FIRSTHAND

Pp 02:09 & vs 03:58 )

 

A Crowd Advances Towards the U.S. Capitol

11. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

12. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public. A joint session of the United States Congress convened at the United States Capitol.
During the joint session, elected members of the United States House of Representatives and the
United States Senate were meeting in separate chambers of the United States Capitol to certify the
vote count of the Electoral College of the 2020 Presidential Election, which had taken place on
November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Pence was present and presiding, first in the joint session, and

then in the Senate chamber.
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 9 of 22

13. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, and with Vice President-elect Kamala
Harris in attendance, a large crowd gathered outside the U.S. Capitol. As noted above, temporary
and permanent barricades were in place around the exterior of the U.S. Capitol building, and U.S.
Capitol Police were present and attempting to keep the crowd away from the Capitol building and
the proceedings underway inside.

14. Shortly before 1:00 p.m., a large crowd gathered near the pedestrian entrance to the

Capitol grounds on First Street. The entrance was secured by a small number of U.S. Capitol

Police, who stood behind a waist height metal barrier.

 

15. Shortly after that above image was captured on video, two men advanced toward
the waist-high metal gate. The crowd followed, and within minutes, the crowd overwhelmed the
U.S. Capitol Police officers seen at the top of the steps in the image above. The crowd then
advanced toward the U.S. Capitol. Your affiant asserts that NORDEAN was not one of the two

men who initially advanced toward officers, but was present in the crowd depicted above.
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 10 of 22

16. After overwhelming the pedestrian gate near the Peace Monument and other
entrances, the crowd advanced on the U.S. Capitol where another line of U.S Capitol Police and
barricades attempted to stop the crowd from advancing to the walls of the building. Additional
people continued to arrive until what I estimate to be thousands of people had gathered in front of
the Capitol on its west side. Among the first to reach the police line in the west plaza of the Capitol

was a person that I recognize as NORDEAN.

 

17. As can be seen in the images below, a person that I recognize as NORDEAN
remained at or near the front of the crowd as Capitol Police attempted to reform a police line.
Shortly thereafter, NORDEAN then appeared to engage in a brief exchange with a person that I
recognize as Robert Gieswein, who was among the first to enter the Capitol through a window that

was broken by a person that has been identified as Proud Boy Dominic Pezzola.* I have reviewed

 

? On January 27, 2021, a grand jury returned an indictment that charged Gieswein with violations

of 18 U.S.C. §§ 1512(c)(2), 111(a)(1) and (b), 1361, 2, and 1752(a)(1). United States v. Robert

8
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 11 of 22

video footage of people in the crowd closest to the police line, and a person that I recognize as

Pezzola is also present at or near the front of the crowd at various times.

 

18. Assembled close behind NORDEAN in the crowd in front of the Capitol were a

group of individuals that I have identified as many of the same people who had been seen marching
behind NORDEAN, Biggs, and other Proud Boys earlier in the day.

19. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

 

Gieswein, 21-cr-24. On January 29, 2021, a grand jury returned an indictment that charged Pezzola
with violations of, among other things, 18 U.S.C. §§ 231, 1361, 1512(c)(1) and (2), and 1752, and
conspiracy to commit violations of 18 U.S.C. § 231, for his unlawful conduct at the Capitol on
January 6, 2021, including the breaking of a window with a stolen Capitol Police riot shield. United
States v. Dominic Pezzola, 21-cr-52 (TJK).
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 12 of 22

20. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

21. Among the first people to enter the building was Gieswein (pictured left below),

who entered the building after Pezzola (pictured right below) broke an exterior window using a

riot shield.?

 

22. + Asaresult of the events generally described above, members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

 

3 Based on evidence collected in this investigation to date, your affiant does not herein assert or
intend to otherwise suggest that NORDEAN was present in the immediate vicinity when the
events described in this paragraph took place.
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 13 of 22

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively suspended
until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the
unlawful entry to the U.S. Capitol, including the danger posed by individuals who had entered the
U.S. Capitol without any security screening or weapons check, Congressional proceedings could
not resume until after every unauthorized occupant had left the U.S. Capitol, and the building had
been confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building
had been secured. Vice President Pence remained in the United States Capitol from the time he
was evacuated from the Senate Chamber until the session resumed.
NORDEAN Enters the Capitol

24. During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

25. Photographs and digital videos taken on January 6, 2021, show that NORDEAN
was among those who entered the U.S. Capitol building after rioters forced entry and pushed past
Capitol Police officers. Photographs and video also show that NORDEAN was near the front of
the crowd of rioters, who collectively approached, stood off against, and vastly outnumbered

Capitol Police.
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 14 of 22

 
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 15 of 22

 

NORDEAN’s Social Media Posts Before January 6, 2021

26. NORDEAN was an active poster on the social media site “Parler,” where he

identified himself as “Rufio Panman” and utilized the username “@REBELRUFIO”.

   

  

Rufio Panman

REBELRUFIO

https:/therebellife.shop Punch heard around the world@ Patriotus

(Proudboy@)Entrepreneur & Party of American Rebels$ Communists
ruirreverything @)

   

27. NORDEAN’s posts prior to January 6, 2021, indicate that he and other Proud Boys

members were planning in advance to organize a group that would attempt to overwhelm police
5
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 16 of 22

barricades and enter the United States Capitol building.

28. On or about, December 27, 2020, NORDEAN posted the following message on his
Parler page: “Anyone looking to help us with safety/protective gear, or communications equipment
it would be much appreciated, things have gotten more dangerous for us this past year, anything
helps.” The post then linked to a fundraising site called “Protective gear and communications by
Rufio Panman.”

29. On or about, January 4, 2021, NORDEAN posted a video to Parler which he
captioned “Let them remember the day they decided to make war with us.” Screenshots taken from
the video show NORDEAN and other Proud Boys dressed in tactical gear along with the phrase

“Back the YELLOW,” which is a phrase commonly used to show support for the Proud Boys.

 

30. Also on or about, January 4, 2020, NORDEAN “echoed,” or shared, a post by a
fellow Proud Boy leader (“Individual A”) on the social media platform, Parler. Individual A posted

a picture of himself and NORDEAN at a protest with the caption “And fight we will.”
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 17 of 22

(3 & Echoed By Rufio Panman - 1 week ago

 

= PF

. 4 lweek ago - G) 56568
And fight we will
@REBELRUFIO

 

31. — Also, on or about, January 4, 2021, NORDEAN posted a link to his Parler page.
The link allowed users to access an episode of NORDEAN’s video podcast, “Rebel Talk with
Rufio,” where NORDEAN interviewed Individual A about their participation in a rally in
Washington, D.C., during which Individual A was stabbed, and other Proud Boys related matters.
The video itself is approximately 63 minutes long. Relevant excerpts are described below, in
summary and in part.
a. At approximately 7:20, NORDEAN stated “People don’t understand the price
that comes with being a Patriot these days.”
b. At approximatley 9:00, Individual A stated “We [the Proud Boys] are looked
at almost like the soldiers of the right wing. People are looking to us to lead
the way. . .we gladly will step up and take our place where they want us. . .
This stuff is real. We are in a war.

c. At approximately 10:30, NORDEAN stated that he is President of his local
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 18 of 22

Proud Boys chapter and has been telling his “guys” that they need to “make
[themselves] an enemy of this corrupt system.” NORDEAN further stated
“The police are starting to become a problem,” which frustrated NORDEAN
because “we’ve had their back for years. .. .”

d. At aproximately 13:20, NORDEAN decried that people “are just constantly
bashing” the Proud Boys for their efforts to “protect the community.”
NORDEAN stated “we’re never going to look good doing it, because violence
doesn’t look good .”

e. From approximtely 21:20 to approximately 31:00, NORDEAN and Individual
A discussed what they viewed as “blatant, rampant voter fraud” in the
Presidenial election and what they think the American people should do about
it. During this exchange, Individual A states “They think we’re stupid. They
think we’re just going to be spoonfed. Us patriots ain’t dumb.” NORDEAN
responds, “I think they’re relying on complacency. | think they’re relying on
the Facebook posts, and that’s all we’re going to do.” NORDEAN went on to
say that, rather than being complacent, the Proud Boys were going to “bring
back that original spirit of 1776 of what really established the character of what
America is. And it’s not complacency, it’s not low standards. It’s ‘this is how
it’s going to be, and I don’t give a god damn.””

f. Atapproximately 31:30, NORDEAN stated that voter fraud in the Presidential
election had killed democracy, and further stated “Democracy is dead? Well,
then no peace for you. No democracy, no peace.”

8
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 19 of 22

g. At approximately 46:50, Individual A stated “They’re freaking out about us
not wearing colors in D.C.” referring to the Proud Boys’ stated plan of going
“incognito” on January 6, 2021, rather than wearing their traditional black and
yellow. In response, NORDEAN stated “Oh, I’m excited to play into that, and
we've all got our disguises. We’ve got so many fun ideas. I really don’t know
what we’re going to end up doing, as far as what we’re going to look like or
how we’re going to organize, but it’s going to be fun...”

h. At approximately 60:00, Individual A stated “We’re coming back. We’re
coming to D.C. and were going to take this country back. Your gifts, and your
thoughts, and your financial contributions will not go for nothing.”

32; On or about, January 5, 2021, the day before the riots, NORDEAN posted the
following statement to his Parler page: “It is apparent now more than ever, that if you are a patriot,
you will be targeted and they will come after you, funny thing is that they don’t realize is, is we
are coming for them. You’ve chosen your side, black and yellow teamed with red, white and blue
against everyone else.”

NORDEAN’S Social Media Posts After January 6, 2021

33. On January 8, 2021, NORDEAN posted a picture of himself with the caption
“Violent extremist,’ which your affiant interprets as an effort to make light of the public
condemntation of NORDEAN’s and others’ participation in the riot at the United States Capitol

building on January 6, 2021.
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 20 of 22

Rufio Panman - @REBELRUFIC

 

2 days ago - ¢ 7386

Violent extremist

 

34. On January 8, 2021, NORDEAN posted a photo on his Parler page of a United
States Capitol Police officer administering pepper spray on January 6, 2021, with a caption
celebrating disparaging police officers as “honorable oath breakers.” NORDEAN further stated
that “if you feel bad for the police, you are part of the problem. . .”- NORDEAN also stated, in
part, “[t]hey care more about federal property (our property) than protecting and serving the
people.”

Rufio Panman - @REBELRUFIO
2 days ago - © 13768

The honorable oath breakers. If you feel bad for the police, you are part of
the problem. They care more about federal property (our property) than
protecting and serving the people. BACK THE BLACK AND YELLOW

 
Case 2:21-mj-00067-BAT Document1 Filed 02/03/21 Page 21 of 22

CONCLUSIONS OF AFFIANT

35. Based on the foregoing, your Affiant submits that there is probable cause to believe

that NORDEAN violated:

18 U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct, influence, or impede
any official proceeding—to include a proceeding before Congress—or make an attempt to
do so—here, the proceeding to certify the vote results of the Electoral college.

18 U.S.C. § 1361, 18 U.S.C. § 2, which makes it a crime to aid or abet the willful
depredation against any property of the United States—here, the barricades surrounding
the U.S. Capitol and the windows and doors on the west side of the Capitol where Nordean
and other rioters broke into the Capitol.

18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; and (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts
the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D)

11
Case 2:21-mj-00067-BAT Document 1 Filed 02/03/21 Page 22 of 22

utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct,
at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress,
or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; or (G) parade, demonstrate, or picket

in any of the Capitol Buildings.

36. — Assuch, I respectfully request that the court issue an arrest warrant for NORDEAN.

The statements above are true and accurate to the best of my knowledge and belief.

Respectfully submitted,

ELL

Nicholas A. Napoli
Special Agent
Federal Bureau of Investigation

 

Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on February 2, 2021.
ae 2021.02.02

oo 22:11:30 -05'00'

HON. ZIA M. FARUQUI

UNITED STATES MAGISTRATE JUDGE

 

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